                    Case 19-11824            Doc 1       Filed 05/29/19 Entered 05/29/19 17:35:39                              Desc Main
                                                           Document     Page 1 of 41
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                National Fish and Seafood Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Gloucester Cold Storage
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  11-15 Parker Street
                                  Gloucester, MA 01930
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Essex                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.nationalfish.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 19-11824               Doc 1        Filed 05/29/19 Entered 05/29/19 17:35:39                              Desc Main
Debtor
                                                               Document     Page 2 of Case
                                                                                       41 number (if known)
          National Fish and Seafood Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4244

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
                                        Chapter 11. Check all that apply:
                                                         Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                           Case number
                                                 District                                 When                           Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                              Relationship
                                                 District                                 When                          Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                    Case 19-11824          Doc 1          Filed 05/29/19 Entered 05/29/19 17:35:39                               Desc Main
Debtor
                                                            Document     Page 3 of Case
                                                                                    41 number (if known)
         National Fish and Seafood Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                          Document     Page 4 of 41
                    Case 19-11824            Doc 1      Filed 05/29/19 Entered 05/29/19 17:35:39               Desc Main
Debtor
                                                          Document     Page 5 of Case
                                                                                  41 number (if known)
           National Fish and Seafood Inc.
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                   Chapter      7
                                                                                                            Check if this an
                                                                                                              amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Pacific Andes International Holdings (BVI) Limited                      Relationship to you     Corporate Parent
District   Southern District of New York              When     4/17/17             Case number, if known   17-11021
Debtor     Pacific Andes International Holdings Limited (Bermuda)                  Relationship to you     Corporate Parent
District   Southern District of New York              When     6/30/16             Case number, if known   16-11890




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                         page 5
   Case 19-11824   Doc 1    Filed 05/29/19 Entered 05/29/19 17:35:39            Desc Main
                              Document     Page 6 of 41


                UNANIMOUS WRITTEN CONSENT IN LIEU OF A
                 MEETING OF THE BOARD OF DIRECTORS OF
                    NATIONAL FISH AND SEAFOOD, INC.

                                      May 22, 2019


WHEREAS:       National Fish and Seafood, Inc., a Massachusetts corporation (the
               “Company”), has experienced financial challenges for several years, which
               challenges have persisted despite substantial efforts by the Company to
               restructure its businesses, reduce costs, and eliminate unprofitable business
               lines;

WHEREAS:       In 2017, the Company retained an investment banking firm, SSG Capital
               Advisors, to assist the Company in pursuing a potential sale of the Company,
               and the Company and SSG Capital Advisors have explored sales of the
               Company with numerous different buyers, none of which produced proposals
               that were both acceptable to the Company and capable of consummation;

WHEREAS:       The Company ceased its manufacturing operations and terminated the
               employment of substantially all its employees on Friday, May 10, 2019;

WHEREAS:       National Fish & Seafood Limited, a Hong Kong business entity (“NFS
               Limited”), is a subsidiary of the Company;

WHEREAS:       NFS Limited owes approximately $73 million in principal (plus interest, fees
               and other charges) to Coöperatieve Rabobank U.A., Hong Kong Branch
               (“Rabobank”) under a Facility Letter Ref. No.: TCF/BH/NFS/201510-01,
               dated October 8, 2015 (as amended, the “Facility Letter”);

WHEREAS:       The Company guaranteed all obligations of NFS Limited to Rabobank
               pursuant to a Guarantee (For Limited Company);

WHEREAS:       The Company’s obligations to Rabobank as a guarantor of the Facility Letter
               are secured under a Security Agreement by liens on substantially all of the
               Company’s assets;

WHEREAS:       Rabobank has, by notice to the Company and NFS Limited dated April 16,
               2019, declared an event of default under the Facility Letter and accelerated the
               Company and NFS Limited’s obligations thereunder;

WHEREAS:       Pacific Andes International Holdings Limited (Bermuda) and Pacific Andes
               International Holdings (BVI) Limited (together, “Pacific Andes”) are
               currently debtors in chapter 11 bankruptcy cases jointly administered as In re
               China Fishery Group Ltd. (Cayman), et al., Case No. 16-11895 (Bankr.
               S.D.N.Y.) (the “China Fishery Cases”);



303360532 v2
   Case 19-11824    Doc 1    Filed 05/29/19 Entered 05/29/19 17:35:39              Desc Main
                               Document     Page 7 of 41


WHEREAS:        Pacific Andes, through a subsidiary, owns 60% of the equity of the Company;

WHEREAS:        The Company and NFS Limited filed a Motion to Allow Claims as Timely
                Filed (the “Claim Motion”), dated January 17, 2019, in the China Fishery
                Cases, which alleged unsecured claims against Pacific Andes in the amount of
                $30,812,495.76 (the “Pacific Andes Claims”);

WHEREAS:        Pacific Andes has objected to the Claim Motion on several grounds, and the
                Claim Motion has not yet been adjudicated by the U.S. Bankruptcy Court;

WHEREAS:        Rabobank has proposed to accept the Pacific Andes Claims subject to a lien of
                Rabobank in exchange for a partial satisfaction of $7,500,000 of the
                Company’s secured debt obligations to Rabobank under the Guarantee, as set
                forth in a form of Assignment Agreement (the “Assignment Agreement”), a
                copy of which has been provided to the Boards of Directors.

                      Authorization for Filing Voluntary Petition
               Under Chapter 7 of the Bankruptcy Code for the Company

RESOLVED:       The Board of Directors of the Company (the “Board”), having been fully
                apprised of all of the material facts related to the financial condition of the
                Company, has determined that it is in the best interests of the Company, its
                creditors, and other parties in interest, that the Company should cease
                operations and be liquidated under the supervision of the United States
                Bankruptcy Court;

RESOLVED:       That in the judgment of the Board, it is desirable and in the best interests of
                the Company, its creditors, and other parties in interest that the Company
                commence a bankruptcy proceeding (a “Chapter 7 Case”) by filing a
                voluntary petition for relief under the provisions of chapter 7 of the
                Bankruptcy Code in the United States Bankruptcy Court for the District of
                Massachusetts (the “Bankruptcy Court”);

RESOLVED:       That the Company’s Co-Chief Restructuring Officer, Brian Mittman (an
                “Authorized Officer”), be, and he is, hereby authorized and directed, in the
                name of and on behalf of the Company, on a date of his determination, to
                promptly: (1) prepare the schedules, statements, and other papers he deems
                necessary or appropriate to commence a Chapter 7 Case for the Company; and
                (2) execute and verify a petition under chapter 7 of the Bankruptcy Code and
                to cause the same to be filed in the Bankruptcy Court;

RESOLVED:       That the Authorized Officer be, and he is, authorized and directed to execute
                and file, in the name of and on behalf of the Company, all petitions,
                agreements, pleadings, and other documents or papers, and to take any and all
                action that such Authorized Officer deems necessary or appropriate, in
                connection with the Chapter 7 Case;


                                              2
303360532 v2
   Case 19-11824    Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39             Desc Main
                              Document     Page 8 of 41


                   Approval of Assignment Agreement with Rabobank

RESOLVED:      The Board, having been fully apprised regarding the transaction proposed by
               Rabobank in the Assignment Agreement, has determined that it is in the best
               interests of the Company, its creditors, and other parties in interest, that the
               Company should accept the proposal and proceed with the transaction
               contemplated therein;

RESOLVED:      That the Authorized Officer be, and he is, hereby authorized and directed, in
               the name of and on behalf of the Company, on a date of his determination
               (which shall be prior to commencing the Chapter 7 Case for the Company), to
               promptly execute the Assignment Agreement, with such changes as he deems
               appropriate, and to implement the transactions contemplated thereby;

                                   General Authority

RESOLVED:      That, in addition to the specific authorizations previously conferred herein
               upon the Authorized Officer, the Authorized Officer is authorized and
               directed, in the name of and on behalf of the Company, to take or cause to be
               taken any and all such further actions, execute and deliver any and all such
               petitions, agreements, pleadings, and other documents or papers, and pay all
               expenses, including all associated fees and expenses of legal and financial
               advisors as well as filing fees, in each case as in such Authorized Officer’s
               judgment shall be necessary or appropriate to fully carry out the intent and
               accomplish the purpose of the resolutions adopted herein;

RESOLVED:      That all acts, actions, and transactions relating to the matters contemplated by
               the resolutions herein done in the name of and on behalf of the Company,
               which acts would have been approved by the resolutions herein except that
               such actions were taken before these resolutions were approved and adopted
               by the Board, are hereby in all respects approved and ratified.




                                             3
303360532 v2
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                          Document     Page 9 of 41
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 10 of 41
  Case 19-11824     Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39       Desc Main
                             Document     Page 11 of 41


         IN WITNESS WHEREOF, the undersigned directors have each executed this Unanimous
Written Consent as of the date first written above. Ibis Unanimous Written Consent may be
executed in counterparts.




                                               NgPuayYee



                                               NgJoo Kwee



                                               Ng Joo Puay




303360532 v2
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 12 of 41
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 13 of 41
    Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                             Document     Page 14 of 41

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                      A & V TEMPS, INC.
                      210 BROADWAY
                      Chelsea, MA 02150

                      A-C MOTOR EXPRESS, LLC
                      339-C BLISS STREET
                      West Springfield, MA 01089

                      A.B.J. EQUIPFIX, LLC
                      202 W. LUCAS ST
                      Castalia, OH 44824

                      Abel Womack
                      One International Way
                      Lawrence, MA 01843

                      ABEL WOMACK, INC
                      ONE INTERNATIONAL WAY
                      Lawrence, MA 01843

                      ACA FREIGHT FORWARDING INC.
                      324 BRYANT AVE
                      Bronx, NY 10474-7113

                      ACOSTA SALES & MARKETING
                      PO BOX 281996
                      Atlanta, GA 30384-1996

                      Adobe Inc.
                      345 Park Avenue
                      San Jose, CA 95110-2704

                      ADVANTAGE SALES & MARKETING
                      DBA BEM SALES & MARKETING
                      PO BOX 744443
                      Atlanta, GA 30374-4443

                      AGRESOURCE
                      110 BOXFORD ROAD
                      Rowley, MA 01969

                      Alan Brigham
                      14 Vine St
                      Gloucester, MA 01930

                      ALDI, Inc.
                      1200 North Kirk Road
                      Batavia, IL 60510-1477

                      ALL AMERICAN POLY
                      P.O. BOX 10148
                      New Brunswick, NJ 08906
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 15 of 41


                  Alpha Chemical Services
                  46 Morton Street
                  Stoughton, MA 02072

                  ALPHA CHEMICAL SERVICES INC
                  P.O. BOX 431
                  Stoughton, MA 02072

                  AMERICA'S LOGISTICS LLC
                  39170 TREASURY CENTER
                  Chicago, IL 60694-9100

                  AMERICAN EXPRESS
                  P.O. BOX 1270
                  Newark, NJ 07101-1270

                  AMERICAN INSULATED
                  PANEL COMPANY, INC.
                  75 JOHN HANCOCK ROAD
                  Taunton, MA 02780

                  AMERICAN LAZER SERVICES INC
                  P.O. BOX 376
                  Beverly, MA 01915

                  AMERICAN PATRIOT SALES
                  60 CENTRAL STREET
                  Norwood, MA 02062

                  AMERICAN REFRIGERATION
                  149 RIVER STREET
                  SUITE 3
                  Andover, MA 01810

                  AMERICOLD LOGISTICS, INC.
                  P.O. BOX 505339
                  Saint Louis, MO 63150-5339

                  ANALYTICAL TESTING LAB INC
                  345 TRAPELO ROAD
                  Belmont, MA 02478

                  Andrew Marenghi
                  8 Columbia Road
                  Beverly, MA 01915

                  ANKURA CONSULTING GROUP, LLC
                  PO BOX 74007043
                  Chicago, IL 60674-7043

                  APL
                  ATTN: FREIGHT CASHIER
                  116 INVERNESS DR EAST, SUITE 4
                  Englewood, CO 80112
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 16 of 41


                  AQUA ROYALE FOODS, INC
                  197 W. SPRING VALLEY AVE
                  Maywood, NJ 07607

                  ARCTIC FRESH SEAFOOD LLC
                  10 UNION WHARF
                  Fairhaven, MA 02719

                  ARROW PAPER CORP
                  228 ANDOVER ST
                  Wilmington, MA 01887

                  Arrow Paper Corp.
                  228 Andover Street
                  Wilmington, MA 01887

                  Ascentium Capital LLC
                  23970 HWY 59 N
                  Kingwood, TX 77339

                  ASTRO CHEMICALS
                  126 MEMORIAL DRIVE
                  Springfield, MA 01102

                  Barry Shindler
                  Five Star Kosher
                  1085 East 3rd Street
                  Brooklyn, NY 11230

                  BATSON & ASSOCIATES, LLC
                  THE CARLIN GROUP
                  4845 CORPORATE EXCH BLVD SE
                  Grand Rapids, MI 49512

                  BATTERY SHOP OF N. E. INC
                  40 SILVA LANE
                  Dracut, MA 01826

                  Benjamin Schwartz
                  112 Mount Pleasant Street
                  Gloucester, MA 01930

                  BENS WALLPAPER & PAINT CO
                  6 RAILROAD AVE
                  Gloucester, MA 01930

                  BIOMARINE INC
                  16 EAST MAIN STREET
                  Gloucester, MA 01931-1153

                  BOYER'S FOOD MARKETS, INC.
                  1165 CENTRE TURNPIKE-POB 249
                  Orwigsburg, PA 17961-0249
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 17 of 41


                  BUCKEYE BUSINESS PRODUCTS
                  P.O. BOX 392340
                  Cleveland, OH 44193

                  BUTLER-DEARDEN PAPER SERVICE
                  80 SHREWSBURY STREET
                  Boylston, MA 01505-1669

                  C&S Wholesale Grocers, Inc.
                  7 Corporate Drive
                  Keene, NH 03431

                  CAPE ANN CHAMBER OF COMMERCE
                  33 COMMERCIAL STREET
                  Gloucester, MA 01930

                  CAPE ANN LIFT TRUCKS, INC
                  48 HARRISON AVE
                  Gloucester, MA 01930

                  CAPE POND ICE CO., INC
                  P.O. BOX 440
                  Gloucester, MA 01930

                  CARUS CORPORATION
                  15111 COLLECTIONS CENTER DR
                  Chicago, IL 60693

                  Cascade Water Services
                  113 Bloomingdale Road
                  Hicksville, NY 11801

                  CASCADE WATER SERVICES, INC
                  113 BLOOMINGDALE ROAD
                  Hicksville, NY 11801

                  Catania Oils
                  3 Nemco Way
                  Ayer, MA 01432-0227

                  CATANIA SPAGNA
                  PO BOX J
                  1 NEMCO WAY
                  Ayer, MA 01432

                  CENSEA, INC
                  400 SKOKIE BLVD
                  SUITE 110
                  Northbrook, IL 60062

                  CHANNEL FISH PROCESSING INC.
                  P.O. BOX 847109
                  Boston, MA 02284-7109
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 18 of 41


                  CHARM SCIENCES, INC
                  659 ANDOVER STREET
                  Lawrence, MA 01843-1032

                  CINTAS #016
                  P.O. BOX 630803
                  LOCATION 016
                  Cincinnati, OH 45263-0803

                  CINTAS FIRST AID & SAFETY
                  LOCATION # 779
                  P.O. BOX 636525
                  Cincinnati, OH 45263-6525

                  CITRIX SYSTEMS INC
                  P.O. BOX 931686
                  Atlanta, GA 31193-1686

                  City of Boynton Beach
                  Attn: Tax Business
                  100 E. Boynton Beach Boulevard
                  P.O. Box 310
                  Boynton Beach, FL 33435-0310

                  City of Brownsville
                  Attn: Business Tax Department
                  1001 E. Elizabeth Street
                  Brownsville, TX 78520

                  City of Dallas
                  Office of the Controller
                  1500 Marilla Street
                  Room 2BS
                  Dallas, TX 75201

                  CITY OF GLOUCESTER
                  P.O. BOX 773
                  Reading, MA 01867-0405

                  City of Gloucester
                  Treasurer/Collector
                  9 Dale Avenue
                  Gloucester, MA 01930

                  City of Issaquah
                  Attn: Business Tax Department
                  P.O. Box 1307
                  Issaquah, WA 98027

                  CO-Denver Sales/Use Tax Return
                  P.O. Box 660860
                  Loveland, CO 80539
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 19 of 41


                  COASTAL CORPORATION LTD
                  COASTAL ANDHRA REGION, #17, NH16
                  COASTAL ANDHRA REGION, MADHURAWADA
                  VISAKHAPATNAM AP 530048, INDIA

                  COLMAR BELTING COMPANY, INC
                  66 Holton Street
                  Woburn, MA 01801

                  COMCAST
                  PO BOX 70219
                  Philadelphia, PA 19176-0219

                  COMMONWEALTH OF MASSACHUSETTS
                  DEPARTMENT OF PUBLIC HEALTH
                  DIVISION OF FOOD AND DRUGS
                  305 SOUTH STREET
                  Jamaica Plain, MA 02130

                  Commonwealth of Massachusetts
                  Department of Unemployment Assistance
                  Legal Department, 1st Floor, Attn. Chief
                  19 Staniford Street
                  Boston, MA 02114-2502

                  CONSOLIDATED PACKAGING GROUP
                  30 BERGEN TURNPIKE
                  Ridgefield Park, NJ 07660

                  Cooperative Rabobank U.A.
                  Attn: Janet Ong
                  32/F Three Pacific Place
                  1 Queen's Road East
                  Hong Kong

                  Cooperative Rabobank U.A., Hong Kong
                  245 Park Avenue
                  New York, NY 10036

                  Crown Equipment Corporation
                  P.O. Box 641173
                  Cincinnati, OH 45264-1173

                  CROWN LIFT TRUCKS
                  P.O. BOX 641173
                  Cincinnati, OH 45264-1173

                  CRUISE MARKETING IA
                  5512 NE 17TH STREET
                  Des Moines, IA 50313

                  CRUISE MARKETING MO
                  5512 NE 17TH STREET
                  Des Moines, IA 50313
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 20 of 41


                  CRUISE MARKETING NE
                  5512 NE 17TH STREET
                  Des Moines, IA 50313

                  Crustrade PTE LTD
                  Kurt S. Olson
                  Olson & Olson P.A.
                  500 Federal Street
                  Andover, MA 01810

                  Crustrade PTE LTD
                  101 Cecil Street
                  #10-01 Tong East Building
                  Singapore 069533

                  CT CORPORATION SYSTEMS
                  P.O. BOX 4349
                  Carol Stream, IL 60197-4349

                  CT Corporation, as representative
                  330 N. Brand Blvd.
                  Suite 700, Attn: SPRS
                  Glendale, CA 91203

                  CUSTOM SEASONINGS INC
                  12 HERITAGE WAY
                  Gloucester, MA 01930

                  D & H MARKETING, INC.
                  PO BOX 1229
                  Burgaw, NC 28425

                  DAILY PRINTING, INC.
                  25 WEST STREET
                  Beverly, MA 01915

                  Danvers-T, Inc.
                  998 Andover Street
                  Danvers, MA 01923

                  DAVE'S FRESH MARKETPLACE
                  1000 division street suite 20
                  East Greenwich, RI 02818

                  DAVID VENTOLA
                  1580 HILLVIEW DR
                  Sarasota, FL 34239

                  DEE & L, LLC
                  PO BOX 3431
                  Bayonne, NJ 07002
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 21 of 41


                  DELTA BLUE AQUACULTURE PARTNER
                  1360 SOUTH REDWOOD RD
                  SUITE 210
                  Salt Lake City, UT 84104

                  DELTA TRAK
                  P.O. BOX 4115
                  Modesto, CA 95352

                  Department of Revenue
                  5050 West Tennessee Street
                  Tallahassee, FL 32399-0100

                  Department of Revenue
                  PO Box 47464
                  Olympia, WA 98504-7464

                  DHL EXPRESS (USA), INC
                  16592 COLLECTIONS CENTER DRIVE
                  Chicago, IL 60693

                  DIRECT ENERGY BUSINESS
                  P.O. BOX 32179
                  New York, NY 10087-2179

                  Dr. Praeger's Purely Sensible Foods Inc.
                  9 Boumar Place
                  Elmwood Park, NJ 07407

                  E CRUZ ELECTRIC INC.
                  9 LIMEWOODS DR.
                  Saugus, MA 01906

                  E.D.A. Inc.
                  P.O. Box 328
                  Mansfield, MA 02048

                  EAN SERVICES LLC
                  SERVICING NATIONAL CAR RENTAL
                  P.O. BOX 402383
                  Atlanta, GA 30384-2383

                  EARLS LOCK SHOP
                  P.O. BOX 28
                  Gloucester, MA 01930

                  EBP SUPPLY SOLUTIONS INC.
                  200 RESEARCH DRIVE
                  Milford, CT 06460

                  ECIC
                  Credit Insurance
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 22 of 41


                  EDA, INC.
                  P.O. BOX 328
                  Mansfield, MA 02048

                  ELECTRIC SUPPLY CENTER
                  200 MIDDLESEX TURNPIKE
                  Burlington, MA 01803

                  ELM CITY CHEESE CO. INC
                  2240 STATE STREET
                  Hamden, CT 06517

                  EMPIRE MARKETING STRATEGIES
                  11243 CORNELL PARK DRIVE
                  Cincinnati, OH 45242

                  ENDICO POTATOES INC
                  160 NORTH MACQUESTEN PARKWAY
                  Mount Vernon, NY 10550

                  ENGIE RESOURCES
                  P.O. BOX 9001025
                  Louisville, KY 40290-1025

                  EQUATOR - DESIGN US, INC.
                  CIVIC OPERA BUILDING
                  20 N. WACKER DRIVE
                  STE 2200
                  Chicago, IL 60606

                  ESSEX FOOD INGREDIENTS
                  PO BOX 824208
                  Philadelphia, PA 19182-4208

                  ESSEX SERVICE COMPANY INC
                  P.O. BOX 83
                  Essex, MA 01929

                  EVERGREEN AQUATIC PRODUCTS
                  SCIENCE AND TECHNOLOGY CO LTD
                  NORTHERN RUIYUN ROAD
                  MAZHANG ECONOMIC DEVELOPMENT
                  ZHANJIANG CITY, GUAO, NY 11111

                  F. MURPHY & SONS CLEAN CO INC
                  23 CRANBERRY LANE
                  Middleton, MA 01949

                  F. W. WEBB
                  160 MIDDLESEX TURNPIKE
                  Bedford, MA 01730

                  FASTENAL COMPANY
                  PO Box 1286
                  Winona, MN 55987-1286
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 23 of 41


                  FAVORITE BROKERS
                  508 NORTH AVENUE
                  New Rochelle, NY 10801

                  FEDERAL EXPRESS CORPORATION
                  P.O. BOX 371461
                  Pittsburgh, PA 15250-7461

                  FIVE STAR KOSHER LLC
                  1085 EAST 3RD STREET
                  Brooklyn, NY 11230

                  Florida Tax Collector
                  101 S. Washington Boulevard
                  Sarasota, FL 34236-6993

                  FLS TRANSPORTATION
                  SERVICES, INC
                  400 Ste-Croix Avenue
                  H4N 3L4
                  MONTREAL, QC

                  FOLENE PACKAGING LLC
                  PO BOX 300965
                  MIDWOOD, NY 11230

                  FOX TRUCKING INC
                  29920 DOVER ROAD
                  Easton, MD 21601

                  FPS FOOD PROCESS SOLUTIONS COR
                  7431 NELSON ROAD
                  UNIT 130
                  RICHMOND, BRITISH COLUMBIA VGW1G3
                  CANADA

                  FREEZE PAK STORAGE
                  760B PORT CARTERET DRIVE
                  Carteret, NJ 07008

                  FREUND'S FISH MARKET
                  13TH AVENUE FISH MARKET
                  4301 15TH AVENUE
                  BROOKLYN, NY 11219
                  Brooklyn, NY 11219

                  FROMMELT DOCK & DOOR, INC
                  184 MAIN ST
                  NO. READING, MA 01968

                  FSE, INC.
                  PO BOX 95026
                  Chicago, IL 60694-5026
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 24 of 41


                  GEA REFRIGERATION
                  NORTH AMERICA, INC
                  P. O. BOX 13383
                  Newark, NJ 07101-3383

                  GENERAL ENVIRONMENTAL SERVICES
                  930 EASTERN AVENUE
                  Malden, MA 02148

                  General Environmental Services, Inc.
                  930R Eastern Avenue
                  Malden, MA 02148

                  GLOUCESTER RENTAL CENTER INC
                  32 MAPLEWOOD AVE
                  Gloucester, MA 01930

                  GLUE-FAST EQUIPMENT CO. INC
                  3535 RT 66
                  BLDG 1
                  Neptune, NJ 07753

                  GOAL LINE FOODS, LLC
                  203 JACKSON STREET #204
                  Anoka, MN 55303

                  GOOD LUCK PRODUCT CO. LTD.
                  69/9 MOO 1 EKACHAR RD
                  T THAJEAN MUANG
                  SAMUTSAKOM 74000
                  THAILAND

                  GORTON'S OF GLOUCESTER
                  128 ROGERS ST
                  Gloucester, MA 01930

                  Gortons Inc.
                  128 Rogers Street
                  Gloucester, MA 01930

                  GOURMET TOAST CORP
                  38 STEUBEN ST.
                  Brooklyn, NY 11205

                  GRAPHIC PACKAGING INTL
                  SAP LOCKBOX
                  PO BOX 404170
                  Atlanta, GA 30384-4170

                  Grasso Foods Inc.
                  9 Ogden Road
                  Swedesboro, NJ 08085
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 25 of 41


                  GRASSO FOODS, INC
                  P.O BOX 127
                  Swedesboro, NJ 08085

                  GREENWAY MARKETING & PACKAGING
                  P.O. BOX 700
                  Sunapee, NH 03782

                  GRUNFELD DESIDERIO LEBOWITZ
                  SILVERMAN & KLESTADT LLP
                  599 LEXINGTON AVENUE, FL 36
                  New York, NY 10022-7648

                  H&M TRANSPORT INC
                  P.O. BOX 418578
                  Boston, MA 02241-8578

                  HALLEY ELEVATOR CO.
                  11 TYNG STREET
                  Newburyport, MA 01950

                  Harris County Texas
                  Jan 1 2019 Excise Tax

                  HAYSSEN, INC
                  HAYSSENSANDIACRE
                  225 SPARTANGREEN BLVD
                  Duncan, SC 29334

                  HIGGINS SCALE SERVICE
                  P.O. BOX 8472
                  Salem, MA 01971

                  HOME DEPOT
                  CREDIT SERVICES
                  DEPT 32-2505110779
                  PO BOX 78047
                  Phoenix, AZ 85062-8047

                  Hong Kong Export Credit Insurance Corp.
                  2/F Tower 1, South Seas Centre
                  75 Mody Road
                  Tsimshatsui East
                  Kowloon, Hong Kong

                  Howard Rosenberg
                  Kreinces & Rosenberg, P.C.
                  900 Merchants Concourse, Suite 305
                  Westbury, NY 11590

                  HP HOOD LLC
                  HP Hood LLC
                  PO BOX 4060
                  Gloucester, MA 01930
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 26 of 41


                  HUB FOLDING BOX CO INC.
                  774 NORFOLK STREET
                  Mansfield, MA 02048

                  Hub Folding Box Co., Inc.
                  774 Norfolk Street
                  Mansfield, MA 02048

                  HUGHES SALES, INC.
                  9650 SANTIAGO ROAD
                  SUITE 106
                  Columbia, MD 21045

                  HYDRANGEA LANDSCAPING
                  P.O. Box 3232
                  Gloucester, MA 01930

                  IMAGE COMMUNICATIONS
                  128K HALL ST
                  Concord, NH 03301

                  INDUSTRIAL TIRE SALES, INC
                  7 GRANT AVE
                  Burlington, MA 01803-2192

                  INFOR (US), INC
                  NW 7418
                  P.O. BOX 1450
                  Minneapolis, MN 55485-7418

                  INFORMATION RESOURCES, INC
                  4766 PAYSPHERE CIRCLE
                  Chicago, IL 60674

                  INGERSOLL-RAND
                  15768 COLLECTIONS CENTER DRIVE
                  Chicago, IL 60693

                  INNOVATIVE LABEL
                  PO BOX 731
                  Germantown, WI 53022

                  INNOVATIVE PLASTICS CORP.
                  400 ROUTE 303
                  Orangeburg, NY 10962

                  Innovative Plastics Corp.
                  400 NY-303
                  Orangeburg, NY 10962

                  INSTANT SIGNAL &ALARM CO., INC
                  303 HIGHLAND AVENUE
                  Salem, MA 01970-1890
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 27 of 41


                  INTEGRITY FOOD MARKETING
                  487 DEVON PARK DRIVE
                  SUITE 210
                  Wayne, PA 19087

                  Internal Revenue Service
                  Centralized Insolvency Operations
                  P.O. Box 7346
                  Philadelphia, PA 19101-7346

                  INTERSTATE WAREHOUSING LLC
                  DEPT 78743
                  P.O. BOX 78000
                  Detroit, MI 48278-0743

                  J&D TRANSPORTATION INC.
                  P.O. BOX 313
                  Scituate, MA 02066

                  J.R.M. Hauling & Recycling
                  265 Newbury Street
                  Peabody, MA 01960-1315

                  Jack Arthur Ventola (97550038)
                  FMC Devens
                  Federal Medical Center, Satellite Camp
                  P.O. Box 879
                  Ayer, MA 01432

                  JACK VENTOLA
                  11-15 PARKER STREET
                  Gloucester, MA 01930

                  Jack Ventola
                  c/o Gottlieb & Janey LLP
                  Attn: Derrelle M. Janey
                  111 Broadway, Suite 701
                  New York, NY 10006

                  JAQUITH CARBIDE CORP
                  31 TURNPIKE ROAD
                  Ipswich, MA 01938

                  Jason Brown
                  155 Washington Street
                  Salem, MA 01970

                  JERGENS INC
                  P.O. BOX 931344
                  Cleveland, OH 44193

                  JIMARY Land Trust LLC
                  P.O. Box 206
                  Gloucester, MA 01930
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 28 of 41


                  JOHN BEAN TECHNOLOGIES CORP
                  7002 SOLUTIONS CENTER
                  Chicago, IL 60677-7000

                  JONES BOYS INSULATION
                  110 PERIMETER ROAD
                  Nashua, NH 03063

                  KERRY INGREDIENTS
                  P.O. BOX 409141
                  Atlanta, GA 30384-9141

                  Lauren Satterfield
                  13 Homestead Ct.
                  Saint Charles, MO 63303

                  LEHIGH OUTFITTERS, LLC
                  EAST CANAL STREET
                  Nelsonville, OH 45764

                  Len Wallace
                  US EPA Region 1
                  5 Post Office Square, Suite 100
                  Boston, MA 02109

                  LINDSKOG BALANCING
                  1170 MASSACHUSETTS AVE
                  Boxborough, MA 01719

                  Lisa Faro
                  22 Grandhill Drive
                  Dover, MA 02030

                  LIVINGSTON
                  150 PIERCE ROAD, SUITE 500
                  Itasca, IL 60143-1222

                  LOFTWARE, INC.
                  166 CORPORATE DRIVE
                  Portsmouth, NH 03801

                  LOMA SYSTEMS, INC
                  39425 TREASURY CENTER
                  Chicago, IL 60694-9400

                  LT Brandon Aten
                  United States Coast Guard
                  Chief, Incident Management Division
                  427 Commercial Street
                  Boston, MA 02109-1027

                  Mac Acquisition L.L.C.
                  6820 LBJ Freeway
                  Dallas, TX 75240
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 29 of 41


                  MAILFINANCE
                  DEPT 3682
                  PO BOX 123682
                  Dallas, TX 75312-3682

                  MARINE STEWARDSHIP COUNCIL
                  MARINE HOUSE
                  1 SNOW HILL
                  LONDON, EC1A2DH
                  UNITED KINGDOM

                  MARITIME PRODUCTS INT.
                  P.O. BOX 120103
                  Newport News, VA 23612

                  MARKEM-IMAJE CORPORATION
                  P.O. BOX 3542
                  Boston, MA 02241

                  MARKHAM METALS
                  P. O. BOX 783
                  Wilmington, MA 01887

                  Massachusetts Department of Revenue
                  Bankruptcy Unit
                  P.O. Box 9564
                  Boston, MA 02114-9564

                  MASSACHUSETTS DEPT OF REVENUE
                  P.O. BOX 7089
                  Boston, MA 02241-7089

                  Massachusetts Dept. of Public Health
                  Michael J. Moore, Director
                  305 South Street
                  Jamaica Plain, MA 02130

                  MASTER PACKAGING INC.
                  333 ADELARD-SAVOIE BLVD
                  DIEPPE, NB
                  E1A 7G9
                  CANADA

                  Matthew O'Donnell
                  Luskin, Stern & Eisler LLP
                  Eleven Times Square
                  New York, NY 10036

                  McCarthy Burgess & Wolf
                  c/o Teri Scharf
                  26000 Cannon Road
                  Bedford, OH 44146
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 30 of 41


                  MCDERMOTT WILL & EMERY LLP
                  P.O. BOX 6043
                  Chicago, IL 60680-6043

                  MCMASTER CARR SUPPLY COMPANY
                  P. O. BOX 7690
                  Chicago, IL 60680-7690

                  MEGACORP LOGISTICS, LLC
                  P.O. BOX 1050
                  Wrightsville Beach, NC 28480

                  MERRIMACK ENVIRONMENTAL LLC
                  61 LINCOLNSHIRE DRIVE
                  Haverhill, MA 01835

                  METHUEN CORPORATION
                  POLLUTION CONTROL SYSTEM MAINT
                  31 TOBEY AVE
                  Methuen, MA 01844

                  Michael Bruno
                  48 Ellis Farm Lane
                  Melrose, MA 02176

                  MOTION INDUSTRIES INC
                  P.O. BOX 415749
                  Boston, MA 02241

                  National Fish & Seafood Limited
                  32/F Hong Kong Plaza
                  188 Connaught Road West
                  Hong Kong

                  NATIONAL GRID
                  P.O. BOX 11737
                  Newark, NJ 07101-4735

                  NEOGEN CORPORATION
                  25153 NETWORK PLACE
                  Chicago, IL 60673-1251

                  NEOPOST INC.
                  p.o. box 30193
                  Tampa, FL 33630-3193

                  NEW ENGLAND FIRE PATROL
                  117 LANCASTER STREET
                  Quincy, MA 02169

                  NEW SOUND TRANSPORTATION, LLC
                  c/o ORANGE COMMERCIAL CREDIT
                  P.O. BOX 11099
                  Olympia, WA 98508-1099
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 31 of 41


                  Newly Weds Foods
                  4140 W. Fulerton Avenue
                  Chicago, IL 60639

                  NEWLY WEDS FOODS, INC.
                  70-80 GROVE ST
                  Watertown, MA 02472

                  Nitco Fleet Services
                  c/o Northland Indus. Truck Co., Inc.
                  6 Jonspin Road
                  Wilmington, MA 01887

                  North Shore Mini Storage, Inc.
                  444 Essex Avenue
                  Gloucester, MA 01930

                  NORTHEAST ELECTRICAL
                  DISTRIBUTERS
                  P.O. BOX 415931
                  Boston, MA 02241-5931

                  NORTHEAST ENVIRONMENTAL
                  LABORATORY, INC
                  41 DAYTON STREET
                  Danvers, MA 01923

                  NORTHERN OCEAN MARINE INC
                  7 PARKER STREET
                  Gloucester, MA 01930

                  NORTHLAND INDUSTRIAL TRUCK INC
                  P.O. BOX 845534
                  Boston, MA 02284-5534

                  NOTHUM MANUFACTURING CO. INC.
                  1368 E. KINGSLEY STREET
                  STE C
                  Springfield, MO 65804

                  NRC EAST ENVIRONMENTAL
                  SERVICES, INC
                  19 NATIONAL DRIVE
                  Franklin, MA 02038

                  NSDJ Real Estate LLC
                  613 Pleasant Street
                  East Weymouth, MA 02189

                  NSDJ REAL ESTATE, LLC
                  613 PLEASANT STREET
                  East Weymouth, MA 02189
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 32 of 41


                  NU PRODUCTS SEASONING CO.
                  20 POTASH ROAD
                  Oakland, NJ 07436

                  NWD INCORPORATED
                  100 DUCHAINE BOULEVARD
                  P.O. BOX 50821
                  New Bedford, MA 02745

                  Occupational Safety and Health Admin.
                  Shattuck Office Center
                  138 River Road, Suite 102
                  Andover, MA 01810

                  OCEAN EXPRESS LLC
                  60 MEAD STREET
                  Seekonk, MA 02771

                  OCEAN INCORPORATION LIMITED
                  TUNG CHE COMM CENTRE
                  ROOM 2308
                  246 DES VOEUX ROAD WEST
                  HONG KONG

                  OCEAN RIDGE CAPITAL
                  ADVISORS, LLC
                  56 HARRISON ST., SUITE 203A
                  New Rochelle, NY 10801

                  OCEAN STAR DEVELOPMENT INC
                  15/B-15/F CHEUK NANG PLAZA
                  250 HENNESSY ROAD
                  HONG KONG

                  Office of the Attorney General
                  Commonwealth of Massachusetts
                  One Ashburton Place, 18th Floor
                  Boston, MA 02108

                  Office of the Texas Attorney General
                  Attn: Ken Paxton
                  PO Box 12548
                  Austin, TX 78711-2548

                  One Kondelin Road Realty Trust
                  c/o Stavros Agganis
                  394 Lincoln Avenue
                  Saugus, MA 01906

                  ONE KONDELIN ROAD, LLC
                  C/O STAVROS AGGANIS
                  394 LINCOLN AVENUE
                  Saugus, MA 01906
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 33 of 41


                  OOCL
                  4782 PAYSPHERE CIRCLE
                  Chicago, IL 60674

                  ORNUA INGREDIENTS NA
                  n7630 COUNTY HIGHWAY BB
                  Hilbert, WI 54129

                  OT Deliveries
                  4 Briarcliff Dr
                  Monsey, NY 10952

                  OXFORD GRAPHICS
                  PO BOX 1000
                  DEPT #0114
                  Memphis, TN 38148-0114

                  Oxford Graphics LLC
                  P.O. Box 1000
                  Dept. #00014
                  Memphis, TN 38148-8011

                  Pacific Andes International Holdings
                  32/F Hong Kong Plaza
                  188 Connaught Road West
                  Hong Kong

                  PATRIOT PLASTICS, INC.
                  16 FOWLE STREET
                  Woburn, MA 01801

                  PEARCE PROCESSING SYSTEMS, INC
                  P.O. BOX 386
                  Beverly, MA 01915

                  PERISHABLE SALES INC.
                  165 HANSON COURT
                  Wood Dale, IL 60191

                  POLA MINERALS LTD
                  FACTORY ROAD
                  BLAYDON ON TYNE
                  TYNE & WEAR NE215SA
                  UNITED KINGDOM

                  PQ SYSTEMS
                  P.O. BOX 750010
                  Dayton, OH 45475-0010

                  PREFERRED CHICAGO III, LLC
                  2357 S. WOOD STREET
                  Chicago, IL 60608
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 34 of 41


                  PREFERRED FREEZER ATLANTA WEST
                  737 DOUGLAS HILL ROAD
                  Lithia Springs, GA 30122

                  PREFERRED FREEZER SERVICES LLC
                  536 FAYETTE STREET
                  Perth Amboy, NJ 08861

                  PREMIER SALES SOLUTIONS - WEST
                  PO BOX 776111
                  Chicago, IL 60677-6111

                  PRESSED PAPERBOARD TECH
                  30400 TELEGRAPH RD, SUITE 385
                  Franklin, MI 48025

                  PREVARE LLC
                  100 CUMMINGS CENTER
                  Beverly, MA 01915

                  PROGRESS PALLET INC.
                  98 WEST GROVE STREET
                  Middleboro, MA 02346

                  PROTECTION ONE
                  P.O BOX 219044
                  Kansas City, MO 64121-9044

                  PT Bumi Menara Internusa
                  Jalan Margomulyo 4E
                  Surabaya, East Java 60187
                  Indonesia

                  PT Bumi Menara Interusa
                  Kurt Olson
                  Olson & Olson P.A.
                  500 Federal Street
                  Andover, MA 01810

                  PV TRANSPORT INC
                  ATT: ACCOUNTS RECEIVABLE
                  P.O. BOX 900
                  Hatfield, PA 19440-0900

                  PYRAMID TRANSPORT INC
                  18119 SUSSEX HIGHWAY, UNIT 2
                  Bridgeville, DE 19933

                  QUADRANT HEALTH SERVICES, INC
                  500 CUMMINGS CENTER S-4350
                  Beverly, MA 01915

                  R. JAY & ASSOCIATES
                  PO BOX 390
                  WEEDSPORT, NY 13116
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 35 of 41


                  RAQUE FOOD SYSTEMS, INC
                  11002 DECIMAL DR
                  P.O. BOX 99594
                  Louisville, KY 40269-0594

                  Raymond Leasing Corporation
                  22 South Canal Street
                  Greene, NY 13778

                  READY REFRESH BY NESTLE
                  A DIVISION OF NESTLE WATERS
                  NORTH AMERICA INC.
                  P.O. BOX 856192
                  Louisville, KY 40285-6192

                  RECONSERVE OF NEW JERSEY, INC
                  26607 NETWORK PLACE
                  Chicago, IL 60673-1266

                  REDDY RAW
                  1 ETHEL BLVD
                  Wood Ridge, NJ 07075

                  REGAL SPRINGS TRADING CO
                  PO BOX 850001 - FRESH FISH
                  Orlando, FL 32885-0183

                  Richard Morales
                  79 Bow Ridge Rd
                  Lynn, MA 01904

                  RIPTIDE FOODS
                  32980 ALVARADO NILES RD.
                  SUITE 810
                  Union City, CA 94587

                  RISO PRODUCTS OF BOSTON
                  P.O. BOX 843001
                  Boston, MA 02284-3001

                  Robert Reiser & Co., Inc.
                  725 Deham Street
                  Canton, MA 02021

                  ROD INTERNATIONAL
                  5701 S. EASTERN AVENUE
                  SUITE 245
                  Los Angeles, CA 90040

                  RONALD POTORSKI
                  15 NICKERSON ROAD
                  Peabody, MA 01960
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 36 of 41


                  ROSE'S OIL SERVICE INC
                  375 MAIN ST
                  P.O. BOX 1346
                  Gloucester, MA 01930

                  S.BERTRAM INC.
                  3401 TREMLEY POINT ROAD
                  Linden, NJ 07036

                  SCHERZER & ASSOCIATES
                  8801 BALLENTINE ST
                  SUITE 100
                  Overland Park, KS 66214

                  SCOTT ENERGY CO. INC.
                  P.O. BOX 1429
                  Gloucester, MA 01931-1429

                  SEABOARD FOLDING BOX CO INC
                  PO BOX 650
                  Westminster, MA 01473

                  SEAFAX
                  P.O. BOX 15340
                  Portland, ME 04112-5340

                  Second Floor clearning
                  Second floor clearing for week ending 4/

                  Secretary of the Commonwealth
                  Corporations Division
                  McCormack Building
                  One Ashburton Place, 17th floor
                  Boston, MA 02108

                  SHANKLIN CORPORATION
                  P.O.BOX 406735
                  Atlanta, GA 30384-6735

                  SHS LLC
                  TY PAZIAN
                  11025 BLANCHARD RD
                  Holland, NY 14080

                  SIEGEL EGG COMPANY
                  SIEGEL EGG COMPANY
                  90 SALEM ROAD
                  North Billerica, MA 01862

                  SILVA BROS. PLUMBING &
                  HEATING INC.
                  10 CLEVELAND PLACE
                  Gloucester, MA 01930
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 37 of 41


                  SMITH HARDWARE & LUMBER
                  HOMETOWN ACE HARDWARE
                  P.O. BOX 119
                  Rockport, MA 01966

                  SOMMER MAID CREAMERY
                  6069 KELLERS CHURCH ROAD
                  PIPERSVILLE, PA 18901

                  SPEEDWAY WELDING SUPPLY
                  160 COUNTY ROAD
                  Gloucester, MA 01930

                  SPIRIT TRANSPORT
                  6 BARNES CIRCLE
                  Salem, MA 01970

                  SPIRIT TRANSPORT INC.
                  6 BARNES CIRCLE
                  Salem, MA 01970

                  SPRINT SOLUTIONS INC.
                  P.O. BOX 54977
                  Los Angeles, CA 90054-0977

                  SPX FLOW TECHNOLOGY
                  P.O. BOX 277886
                  Atlanta, GA 30384-7886

                  SSG ADVISORS, LLC
                  300 BARR HARBOR DRIVE,
                  5 TOWER BRIDGE, SUITE 420
                  WEST CONSHOHOCKEN, PA 19428

                  STANDARD ELECTRIC SUPPLY CO
                  P.O. BOX 788666
                  Philadelphia, PA 19178-8500

                  STAPLES ADVANTAGE
                  DEPT BOS
                  P.O. BOX 105638
                  Atlanta, GA 30348-5638

                  STATE OF VERMONT
                  VERMONT AGENCY OF NATURAL
                  RESOURCES
                  1 NATIONAL LIFE DRIVE, MAIN 2
                  Montpelier, VT 05620-3521

                  STEWART-HUNT, INC
                  P.O. BOX 227
                  Portland, ME 04112-0227
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 38 of 41


                  STROZ FRIEDBERG, LLC
                  32 AVENUE OF THE AMERICAS
                  4TH FLOOR
                  New York, NY 10013

                  SUNNYVALE SEAFOOD
                  2910 FABER ST
                  Union City, CA 94587

                  Sysco Boston LLC
                  99 Spring Street
                  Plympton, MA 02367

                  T. HASEGAWA USA INC
                  14017 E. 183RD STREET
                  Cerritos, CA 90703

                  TALLY'S
                  2 WASHINGTON STREET
                  Gloucester, MA 01930

                  Texas Comptroller of Public Accounts
                  Capitol Station
                  Austin, TX 78711-3528

                  THE NIELSEN COMPANY
                  P.O. BOX 88956
                  Chicago, IL 60695-8956

                  THE WESTIN BOSTON WATERFRONT
                  425 SUMMER ST
                  Boston, MA 02210

                  TOTAL QUALITY LOGISTICS
                  P.O. BOX 634558
                  Cincinnati, OH 45263-4558

                  TOTAL QUALITY LOGISTICS, INC
                  P.O. BOX 634558
                  Cincinnati, OH 45263-4558

                  Toyota Financial Services
                  P.O. Box 22202
                  Owings Mills, MD 21117-1397

                  Travelers Casualty and Surety Company
                  One Tower Square
                  Hartford, CT 06183

                  TRUCKCOURIER, INC.
                  P.O. BOX 2760
                  52 DRAGON COURT
                  Woburn, MA 01888
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 39 of 41


                  U.S. CUSTOMS AND BORDER PROTECTION
                  P.O. BOX 979126
                  Saint Louis, MO 63197-9000

                  U.S. Customs and Border Protection
                  1300 Pennsylvania Avenue, N.W.
                  Washington, DC 20229

                  U.S. Department of Justice
                  950 Pennsylvania Avenue, NW
                  Washington, DC 20530-0001

                  U.S. Department of Labor
                  OSHA
                  200 Constitution Avenue, N.W.
                  Washington, DC 20210

                  U.S. Environmental Protection Agency
                  Region 1
                  5 Post Office Square, Ste. 100
                  Mail Code: OES04-4
                  Boston, MA 02109-3912

                  U.S. Food & Drug Administration
                  10903 New Hampshire Avenue
                  Silver Spring, MD 20993

                  ULTRASOURCE LLC
                  1414 WEST 29TH STREET
                  Kansas City, MO 64108-3604

                  UNICORR / CONNECTICUT CONTAINE
                  4282 PAYSPHERE CIRCLE
                  Chicago, IL 60674

                  Unicorr Packaging Group
                  455 Sackett Point Road
                  North Haven, CT 06473

                  United States Attorney
                  John Joseph Moakley U.S. Courthouse
                  One Courthouse Way, Suite 9200
                  Boston, MA 02210

                  UNITED STATES TREASURY
                  INTERNAL REVENUE SERVICE
                  Cincinnati, OH 45999-0039

                  UNIVERSAL POULTRY PRODUCTS
                  25 COLPITTS RD
                  P.O. BOX 135
                  Weston, MA 02493
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 40 of 41


                  URNER BARRY PUBLICATIONS, INC
                  P.O. BOX 389
                  Toms River, NJ 08754-0389

                  USI INSURANCE SERVICES LLC
                  P.O. BOX 62937
                  Virginia Beach, VA 23466

                  VERITIV OPERATING CO.
                  DBA UNISOURCE
                  7472 COLLECTIONS CENTER DRIVE
                  Chicago, IL 60693

                  VERITIV OPERATING CO.
                  DBA XPEDX
                  PO BOX 644520
                  Pittsburgh, PA 15264-4520

                  VERIZON NY
                  P.O. BOX 15124
                  Albany, NY 12212-5124

                  VERSACOLD LOGISICS
                  P.O. BOX 6428
                  STATION TERMINAL
                  VANCOUVER, BC V6B6R3
                  CANADA

                  VERSACOLD LOGISTIC SERVICES UL
                  P.O. BOX 6428
                  STATION TERMINAL
                  VANCOUVER, BC V6B6R3
                  CANADA

                  W. B. MASON CO., INC.
                  P.O. BOX 981101
                  Boston, MA 02298-1101

                  Walmart Inc.


                  WASTE MANAGEMENT
                  OF MASSACHUSETTS
                  P.O. BOX 13648
                  Philadelphia, PA 19101-3648

                  Wells Fargo Bank N.A.
                  300 Tri-State International
                  Suite 400
                  Lincolnshire, IL 60069

                  WELLS FARGO EQUIPMENT FINANCE
                  MANUFACTURER SERVICES GROUP
                  P.O. BOX 7777
                  San Francisco, CA 94120-7777
Case 19-11824   Doc 1   Filed 05/29/19 Entered 05/29/19 17:35:39   Desc Main
                         Document     Page 41 of 41


                  Wells Fargo Equipment Finance
                  300 Tri-State International
                  Suite 400
                  Lincolnshire, IL 60069

                  WESTROCK COMPANY OF CANADA INC
                  433, 2 E AVENUE
                  SAINT MARIE, QUEBEC
                  G6E 3H2
                  CANADA

                  WILCOX MARKETING, INC.
                  701 EDGEWOOD ROAD
                  PO BOX 1019
                  Wilkesboro, NC 28697

                  WILLIAMSON NEW ENGLAND
                  P.O. BOX 6265
                  Chelsea, MA 02150

                  WIND RIVER ENVIRONMENTAL, LLC
                  46 LIZOTTE DR SUITE 1000\
                  Marlborough, MA 01752

                  WIRE BELT CO. OF AMERICA
                  P.O. BOX 845214
                  Boston, MA 02284-5214

                  WORLDWIDE EXPRESS
                  PO BOX 21272
                  New York, NY 10087

                  WS PACKAGING GROUP
                  7500 INDUSTRIAL ROW DRIVE
                  Mason, OH 45040-1307

                  ZEP MANUFACTURING COMPANY
                  P.O. BOX 3338
                  Boston, MA 02241-3338

                  ZHOU INTERNATIONAL CORP
                  4200 FACTONIA BLVD SE
                  SUITE B11
                  Bellevue, WA 98006
